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 1   UNITED STATES BANKRUPTCY COURT
     DISTRICT OF DELAWARE
 2
     Christopher S. Martone, ESQ.                        Case Number: 23-10576-TMH
 3
     Martone & Associates, LLC
     2500 Lemoine Avenue                                 Judge: Thomas M. Horan
 4
     Fort Lee, New Jersey 07024
     Tel. 201-944-5004
 5                                                       Chapter 11
     Fax 201-334-5838
     Email: martonelaw@gmail.com
 6
     Attorneys for SVMP DE, LLC
 7
     In Re:
 8   Christmas Tree Shops, LLC
     ____________________________________
 9

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11                                    NOTICE OF APPEARANCE

12
            Please take notice that in accordance with Fed. R. Bankr. P. 9010(b) the undersigned
13   enters an appearance in this case on behalf of SVMP DE, LLC. Request is made that the

14   documents filed in this case and identified below be served on the undersigned at this address:

15          ADDRESS: 2500 Lemoine Avenue, Fort Lee, NJ 07024.

16          DOCUMENTS:
            X All notices entered pursuant to Fed. R. Bankr. P. 2002.
17

18
            X All documents and pleadings of any nature.

19

20          Dated: May 19, 2023                            /s/ Christopher S. Martone
                                                           Christopher S. Martone, ESQ.
21                                                         Martone & Associates, LLC
                                                           2500 Lemoine Avenue
22                                                         Fort Lee, New Jersey 07024
                                                           Tel. 201-944-5004
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